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                   UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF CALIFORNIA



JAMES WARYCK and SANGAM SHETH,         Case No. 3:22-cv-01096-L-MDD
Plaintiffs,                            PLAINTIFFS’ RESPONSE IN
                                       OPPOSITION TO MOTION OF THOR
v.                                     MOTOR COACH, INC. TO (1) TRANSFER
                                       VENUE TO INDIANA FEDERAL COURT
THOR MOTOR COACH, INC.; FORD           PURSUANT TO 28 U.S.C. §1404(a); AND
MOTOR COMPANY; MIKE THOMPSON           (2) SEVER CLAIMS AGAINST
RECREATIONAL VEHICLES, SANTA FE        DEFENDANT RELIABLE DELIVERY
SPRINGS                                SERVICES, INC. PURSUANT TO F.R.C.P.
INLAND EMPIRE RV CENTER, INC.          21
d/b/a MIKE THOMPSON RECREATIONAL
VEHICLES, SANTA FE SPRINGS RV, and     Hearing Date: 10/21/22
RELIABLE DELIVERY SERVICES, INC        Hearing Time: 10:30 a.m.
                                       Courtroom: 5B
                  Defendants
                                       Honorable M. James Lorenz




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                                 INTRODUCTION
      Plaintiffs JAMES WARYCK and SANGAM SHETH (“Plaintiffs”) herein
oppose the motion by THOR MOTOR COACH, INC. (“Thor”) to (1) transfer venue
to Indiana federal court pursuant to 28 U.S.C. § 1404(a); and (2) sever claims against
defendant RELIABLE DELIVERY SERVICES, INC. (“RDS”) pursuant to Federal
Rule of Civil Procedure 21 (doc. 7). Thor’s motion is joined by MIKE THOMPSON
RECREATIONAL VEHICLES, SANTA FE SPRINGS INLAND EMPIRE RV
CENTER, INC. d/b/a MIKE THOMPSON RECREATIONAL VEHICLES, SANTA
FE SPRINGS RV (“MIKE THOMPSON RV”) (with Thor, “Defendants”).
      The sole basis for Defendants’ motion to transfer is the jurisdiction clause
contained in the Thor Motor Coach Product Warranty Registration Form (Exhibit C
to Defendants’ Request for Judicial Notice). But the clause is not dispositive, and
Defendants ignore the other 1404(a) factors, all of which weigh against transfer to
Indiana. The forum selection clause is also unenforceable because it conflicts with
fundamental California public policy prohibiting the pre-dispute waiver of the right to
a jury trial and the waiver of consumer rights under California law. Defendants
concede the important public policies implicated by the forum selection clause they
seek to enforce. Their only argument in response is the representation by their counsel
that Defendants will make future stipulations regarding Plaintiffs’ rights under
California law if the case is transferred to Indiana, relying on dicta in a California
appellate decision. The Court should reject these efforts to rewrite the very forum
selection clause that Defendants seek to enforce as a matter of law and because
Defendants’ purported stipulations do not resolve the public policy conflict.
      Finally, Defendants’ motion to sever Plaintiffs’ claims against RDS is moot
because the motion to transfer should be denied. In addition, the Court should deny
Defendants’ motion to sever Plaintiffs’ claims against RDS because all defendants may
be jointly liable for the damage to the Vehicle, and all defendants were involved in the
inspection during which the Vehicle was damaged by RDS.

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                       RELEVANT FACTUAL SUMMARY
      On December 15, 2020, Plaintiffs purchased a 2021 Thor Outlaw 38KB, bearing
VIN No. 1F665DN7L010009 (“Vehicle”). Plaintiffs purchased the Vehicle from
Defendant Mike Thompson RV, at its dealership located at 13940 Firestone Boulevard,
Santa Fe Springs, CA 90670. At purchase, the Vehicle had 2,309 miles on it. Within a
mere 432 miles, the Vehicle revealed its manufacturer defects.
      Many of these defects stem from the fact that Thor took the Ford chassis that
forms the base for the Vehicle and delivered it to a company called Morryde
International (“Morryde”). Morryde was tasked with “stretching” the chassis. There
are two separate spots in the frame of the Vehicle where the frame has been “stretched”.
The first is in front of the rear wheels; and the second is behind the rear wheels. As a
result of this stretching, the chassis is overloaded both by weight and by length.
Plaintiffs were unaware of this modification. which was significant enough to null and
void any warranty from Ford on the chassis.
      In addition to those issues, Plaintiffs also quickly discovered the shoddy
workmanship by Thor Motor Coach on the remainder of the Vehicle, as outlined in the
Complaint. Though Plaintiffs have owned the Vehicle since December of 2020, they
have driven it less than 1,500 miles, and most of those miles were driven to the
authorized repair facility and by the technicians there that tested it. Now, the Vehicle
cannot be driven and sits in a storage lot where DRS abandoned it there after having
deflated the tires and crashing it into an overpass.1
      The issues with the Vehicle manifested in the state of California. The repair
attempts were performed in California. Thor has been unable to repair the Vehicle’s
defects, and the Vehicle has been out of service for more than 130 days. Under both

1 In the course of trying to resolve this matter with Thor, a Vehicle
inspection was scheduled for April 28, 2022. Ford and Thor, in a cost-splitting
arrangement, hired RDS to deliver the Vehicle to Mike Thompson RV for this
inspection. In attempting to deliver the Vehicle, the RDS driver crashed the
Vehicle into an overpass. After the fire and police departments freed the
Vehicle, RDA returned the Vehicle to the storage lot and was otherwise not
heard from again.

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the Song Beverly Act, and the Magnussen Moss Consumer Warranty Law, Thor is
required to buy the Vehicle back, yet it refuses to do so.
                                      ARGUMENT
   I.      The Court should not transfer this case to Indiana.
        Section 1404(a) provides that, “For the convenience of parties and witnesses, in
the interest of justice, a district court may transfer any civil action to any other district
or division where it might have been brought or to any district or division to which all
parties have consented.” 28 U.S.C. § 1404(a). When considering a motion to transfer
venue, the Court should consider the following factors:
        (1) the location where the relevant agreements were negotiated and
        executed; (2) the state that is most familiar with the governing law; (3) the
        Plaintiff's choice of forum’ (4) the respective parties' contacts with the
        forum; (5) the contacts relating to the Plaintiff's cause of action in the
        chosen forum; (6) the differences in the costs of litigation in the two
        forums; (7) the availability of compulsory process to compel attendance
        of unwilling non-party witnesses; and (8) the ease of access to sources of
        proof.
Jones v. GNC Franchising Inc., 211 F.3d 495, 498-99 (9th Cir. 2000). The Supreme
Court has ruled that a section1404(a) analysis should be an “individualized, case-by
case consideration of convenience and fairness.” Van Dusen v. Barrack, 376 U.S. 612,
622 (1964); see also Cordua v. Navistar Intern. Transp. Corp., No. C 10-04961 CW,
2011 WL 62493, at *2 (N.D. Cal., Jan. 7, 2011). “The burden is on the defendant to
show that the convenience of parties and witnesses and the interests of justice require
transfer to another district.” Comm’n v Savage, 611 F.2d 270, 279 (9th Cir. 1979).
        Even where a court determines that there is a valid forum-selection clause, it still
must consider “arguments about public-interest factors,” including “the administrative
difficulties flowing from court congestion; the local interest in having localized
controversies decided at home; and the interest of having the trial of a diversity case in
a forum that is at home with the law.” Rahimi v. Mid Atl. Profs. Inc., No 3:18-CV-
00278-CAB-KSC, 2018 WL 3207383, at *2, n.3 (S.D. Cal. June 29, 2018) (quoting
Piper Aircraft Co. v. Reyno, 454 U.S. 235, 241 n.6 (1981)). Not only is the forum-

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selection clause at issue not enforceable, but none of the factors—public or private—
weighs in favor of transfer to Indiana.
      A.     The forum-selection clause is not enforceable.
             1.     The forum-selection clause violates “fundamental” and
                    “inviolate” California public policy because it is a pre-dispute
                    jury waiver.
      California law is clear: a party may not enter into a pre-dispute waiver of its
right to a jury trial except for in limited ways set forth by statute. Defendants do not
seriously dispute that pre-dispute jury waivers violate California law. A forum
selection clause is invalid if it will diminish any substantive rights afforded under
California law. Wimsatt v. Beverly Hills Weight etc. Int’l, Inc. (1995) 32 Cal.App.4th
1511, 1522. A California appellate court recently held that California courts cannot
enforce pre-dispute waivers of the right to a jury trial:
      Article I, section 16 of the California Constitution states the right to trial
      by jury is “an inviolate right,” and “[i]n a civil cause a jury may be waived
      by the consent of the parties as prescribed by statute.” Section 631 of the
      Code of Civil Procedure states, “The right to a trial by jury as declared by
      Section 16 of Article I of the California Constitution shall be preserved to
      the parties inviolate. In civil cases, a jury may only be waived pursuant to
      subdivision (f).” (Code Civ. Proc., § 631, subd. (a).) Subdivision (f)
      enumerates six actions by a party that will waive trial by jury, including
      “[b]y written consent filed with the clerk or judge.” (Id., subd. (f)(2).)
      CA(5) (5) Grafton discusses California's constitutional history and states
      that the right to a jury trial in California is “fundamental,” “inviolate,”
      and “sacred.” (Grafton, at pp. 951, 956.) Our high court held that the
      waiver methods specified in Code of Civil Procedure section 631 are
      exclusive and they apply only after a lawsuit has been filed. (Grafton, at
      p. 956.) Section 631 does not authorize predispute waivers of the right
      to jury trial by parties who submit their disputes to a judicial forum, and,
      therefore, the court may not enforce such waivers. (Grafton, at pp. 951,
      956, 961, 967.)
Handoush v. Lease Finance Group, LLC (2019) 41 Cal.App.5th 729, 736 (emphasis
added; citing Grafton Partners v. Superior Court 36 Cal.4th 944, 958 (2005)). Any
forum selection clause that seeks to restrict the parties’ right to a jury trial—such as the
clause drafted by Thor—is unenforceable as it violates an unwaivable and paramount
California public policy interest.

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      The Handoush court went on to address that while right to jury trial in California
is both procedural and substantive, the key analysis was the same either way. Citing
to In re County of Orange 784 F.3d 520 (9th Cir. 2015), the court recognized that
although federal courts apply federal law to determine the enforceability of a forum
selection clause, the California right to a jury trial is both procedural and substantive
to such a degree that the unwaivable right to a jury trial could not be discarded as
merely a procedural rule. Handoush, supra at 739.
      This holding is consisted with the United States Supreme Court’s decisions in
Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 17 (1972) and Atlantic Marine
Construction Co. v. United States District Court for the Western District of Texas, 571
U.S. 49 (2013). The mandate espoused in both of these decisions is that in determining
enforcement of a forum selection clause, a district court should look to whether the
forum state has a strong public policy disfavoring application of the forum selection
clause. See also Doe 1 v. AOL LLC 552 F.3d 1077, 1083 (9th Cir. 2009) (“the
appropriate analysis by a federal Court “will determine a forum selection clause is
unenforceable "if enforcement would contravene a strong public policy of the forum
in which suit is brought, whether declared by statute or by judicial decision.”); see also
Gemini Techs., Inc. v. Smith & Wesson Corp., 931 F.3d 911, 915 (9th Cir. 2019)
(reversing district court’s order transferring case pursuant to a forum selection clause
that violated Idaho public policy).
      The forum selection clause in this matter states as follows:
      I AGREE THAT ANY AND ALL ACTIONS OF ANY KIND
      RELATED TO OUR MOTORHOME SHALL BE DECIDED BY
      A JUDGE RATHER THAN BY A JURY
(See Ex. C to Defendant Thor’s Mot. To Change Venue). This clear attempt to waive
a jury trial is the exact type of provision that is unenforceable as running too far afoul
of California’s strong public interest in certain unwaivable rights. The large, bold
language of the forum selection clause’s jury trial prohibition is the type of pre-dispute
waiver that California courts have refused to enforce in light of the California Supreme
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Court’s holding that the right to a jury trial is “fundamental,” “inviolate,” and “sacred.”
Grafton, supra, at 951, 956.
      As noted above, Defendants do not dispute this law. Conceding California’s
fundamental public policy against pre-dispute jury waivers, Defendants purport to
agree to agree to some later stipulation providing that there will be no waiver of
Plaintiff’s right to a jury trial. Defendants’ efforts are too little, too late, and cannot
save the forum selection clause that they seek to enforce.
      Defendants’ counsel states in his declaration that “Plaintiffs’ rights pursuant to
California Code of Civil Procedure section 631(a) and Federal Rules of Civil
Procedure, Rule 38 will not be disturbed should this matter be transferred to Indiana
Federal Court. Further, should Plaintiffs wish, Thor will enter into a separate written
stipulation to that effect.” See Robertson Decl. (doc. 7-3) at ¶ 6. In support of this
attempt to avoid the effect of California’s “fundamental” and “inviolate” rights,
Defendants rely on Verdugo v. Alliantgroup, L.P. (2015) 237 Cal.App.4th 141.
      Defendants’ purported stipulation fails for several reasons. First, in Verdugo,
the court stated that defendant “could have eliminated any uncertainty on which law [a
transferee court] would apply by stipulating to have a Texas court apply California law
in deciding Verdugo’s claims, but [defendant] did not do so.” Id. at 158. Other courts
in this judicial district described this statement in Verdugo as “seemingly suggest[ing]
that a defendant could carry its burden of showing that plaintiff’s unwaivable rights
would not be contravened in Texas state court because it stipulated to California law,
but that analysis was dicta and not a part of Verdugo’s holding.” Kooiman v. Siwell,
Inc., No. 8:20-CV-00565-JLS-DFM, 2021 WL 899095, at *5 (C.D. Cal. Jan. 4, 2021)
(citation omitted; emphasis added).
      Second, as Kooiman recognized in distinguishing Verdugo, under California law,
an “after-the-fact expression of willingness to amend [a contractual provision] to
conform to law is effective.” Id. at 13-14 (quoting Martinez v. Master Prot. Corp.
(2004) 118 Cal.App.4th 107, 116). Moreover, the “conscionability of the provision is

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to be judged at the time the agreement is made.” Id. at *14 (quoting Pereya v.
Guaranteed Rate, Inc., No. 18-CV-06669-EMC, 2019 WL 2716519, at *8 (N.D. Cal.
June 28, 2019)).
      Finally, even if the holding in Verdugo cannot be distinguished, Defendants have
failed to make any stipulation agreeing to the application of California law in any
Indiana proceeding. Rather, their counsel has made a representation that “Plaintiffs’
rights . . . will not be disturbed should this matter be transferred to Indiana Federal
Court.” See Robertson Decl. (doc. 7-3) at ¶ 6 (emphasis added). But this passive voice
sentence does not include any stipulation or agreement by Thor; it simply provides
conditionally that, if this case is transferred to Indiana, Defendants will make some
separate but undefined stipulation in the future.
      In light of Defendants’ concession that pre-dispute waivers of the right to a jury
trial are a “fundamental,” “sacred,” and “inviolate” right under California law, the
forum selection clause should not be enforced. Defendants’ attempts to make a future,
undefined agreement regarding Plaintiffs’ jury rights is ineffective both as a matter of
law and as a matter of fairness, as Defendants have not made any stipulation or
provided with certainty what such a stipulation might be.
             2.    The forum-selection clause is also unenforceable because it
                   cannot be enforced without violating the anti-waiver
                   provisions in the Song-Beverly Consumer Warranty Act.
      Defendants also effectively concede that California law, as a matter of public
policy, does not allow the waiver of a consumer’s rights under the Song-Beverly
Consumer Warranty Act. As with its purported attempt to claw back its jury waiver,
Defendants’ counsel makes certain representations about positions Defendants will
take if the case is transferred, but Defendants have not effectively made an effective
stipulation that would make the forum selection clause enforceable.
      California Civil Code section 1790.1 states, “Any waiver by the buyer of
consumer goods of the provisions of this chapter, except as expressly provided in this

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chapter, shall be deemed contrary to public policy and shall be unenforceable and void.”
The wording of the statute is as explicit as possible. Not only does it contain an anti-
waiver provision but it also expressly references that any such provision is contrary to
public policy. In Murillo v. Fleetwood Enterprises, Inc., the California Supreme Court
recognized that California’s Song-Beverly Consumer Warranty Act is, “strongly pro-
consumer” and noted the Act’s express anti-waiver provision is an indication of the
legislature’s intent to codify the strong public policy interest in the statute. Murillo v.
Fleetwood Enterprises, Inc. (1998) 17 Cal.4th 985, 990. The Court reiterated that it
“is manifestly a remedial measure, intended for the protection of the consumer; it
should be given a construction calculated to bring its benefits into action.” Id. (quoting
Kwan v. Mercedes-Benz of North America, Inc. (1994) 23 Cal. App. 4th 174, 184).
       As discussed above, federal courts will not enforce forum selection clauses that
contravene the public policy of the forum state. See Jones v. GNC Franchising, Inc.
211 F.3d 495, 499 (9th Cir. 2000) (“the presence of a forum selection clause is a
‘significant factor’ in the court's § 1404(a) analysis. We also conclude that the relevant
public policy of the forum state, if any, is at least as significant a factor in the § 1404(a)
balancing.”).
       In this case, the forum selection clause states
       EXCLUSIVE JURISDICTION FOR DECIDING LEGAL DISPUTES
       RELATING TO ALLEGED BREACH OF WARRANTY OR
       REPRESENTATIONS OF ANY NATURE RESTS IN THE COURTS
       WITHIN THE STATE OF MANUFACTURE, WHICH IS INDIANA.
       ALSO, THIS STRUCTURAL LIMITED WARRANTY SHALL BE
       INTERPRETED AND CONSTRUED IN ACCORDANCE WITH THE
       LAWS OF THE STATE OF INDIANA. ANY AND ALL CLAIMS,
       CONTROVERSIES AND CAUSES OF ACTION ARISING OUT OF
       OR RELATING TO THIS STRUCTURAL LIMITED WARRANTY,
       WHETHER SOUNDING CONTRACT, TORT OR STATUTE, SHALL
       BE GOVERNED BY THE LAWS OF THE STATE OF INDIANA,
       INCLUDING ITS STATUTE OF LIMITATIONS, WITHOUT GIVING
       EFFECT TO ANY CONFLICT OF LAW RULE THAT WOULD
       RESULT IN THE APPLICATION OF THE LAWS OF A DIFFERENT
       JURISDICTION.
See Ex. E to Defendant Thor’s Mot. To Change Venue pp. 65 of 77. This clause is
irreconcilably contradictory to California’s strong public policy interest in prohibiting

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the waiver of claims under the Song-Beverly Consumer Warranty Act. The provision
expressly states that “any and all claims, controversies, any and all causes of action
shall be governed solely by the laws of the state of Indiana without giving effect to any
conflict of law that would result in the application of the law of a different jurisdiction.”
Id. (emphasis added).
      As with the forum selection clause’s waiver of jury rights, Defendants purport
to “stipulate” that the Song-Beverly Consumer Act will apply if the case is transferred
to Indiana. Again, Defendants’ counsel represents that Defendants will stipulate “that
the Song-Beverly Consumer Warranty Act will apply to Plaintiffs’ claims as pled in
their complaint” and that Thor “will not oppose a request that the Indiana court utilize
the Song-Beverly Consumer Warranty Act to adjudicate those allegations if permitted
to go forward.” See Robertson Decl. (doc. 7-3) at ¶ 6.
      In support of this proposed stipulation by their counsel, Defendants again rely
on Verdugo, which, as discussed above, is simply inapplicable here. Like the purported
stipulation relating to the jury waiver, Defendants’ proposal is conditional and
unspecific. Defendants do not stipulate that California law will apply, rather, they
agree that they “will not oppose” a request by Plaintiffs that the Song-Beverly
Consumer Warranty Act applies to their claim in an Indiana court.
      The theoretical waiver discussed as dicta in Verdugo considered a party waiving
all applicability of Texas law to the California causes of action. In this case, the
prohibitive language of the forum selection clause cannot be reconciled with any such
stipulation without essentially re-drafting the clause in its entirety, thus rendering the
clause itself hopelessly in conflict with California’s public policy interests espoused in
the Song-Beverly Consumer Warranty Act’s own statutory language.
      Defendants’ efforts again are insufficient to support enforcing the forum
selection clause at issue. The Court should deny Defendants’ motion to transfer on the
basis of the forum selection clause.
      B.     The 1404(a) factors weigh against transfer to Indiana.

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      Whether the forum-selection clause is enforceable or not, transfer to Indiana is
not warranted because the 1404(a) factors weigh against such transfer. This is a
California dispute, governed by California law, concerning local California interests.
This Court is best suited to hear this dispute, and Defendants’ motion for transfer
should be denied. Defendants fail to address the 1404(a) factors, and thus, they have
failed to carry their burden is establishing that transfer to Indiana is appropriate.
             1.     The relevant agreements were negotiated and executed in
                    California.
      The first factor, “the location where the relevant agreements were negotiated
and executed,” weighs against transfer. Jones, 211 F.3d at 498-99. Defendants do
not dispute that the Retail Installment Sales Contract (“RISC”), which provided for
the sale of the Vehicle, was executed in the state of California. As well, the RISC used
is “FORM NO. 553-CA-ARB.” Exhibit A to Defendants’ Request for Judicial
Notice.2. It is a California specific contract which provides:
             “APPLICABLE LAW: Federal and California law apply to this
contract.”
      The RISC is a California Contract executed in California. The RISC
makes no mention of jurisdiction in Indiana. This factor weighs against transfer.
             2.     Defendants concede that California law applies, and this case
                    should stay in a California court familiar with the governing
                    law.
      The second factor—“the state that is most familiar with the governing law”—
also weighs in favor of a California venue. Jones, 211 F.3d at 498-99. This factor is a
public-interest factor, not a private interest of Plaintiffs, and supports denying the
motion to transfer even if the Court finds that the forum selection clause is enforceable,
which Plaintiffs do not concede.

2 The copy attached to Defendants’ Request for Judicial Notice is largely

unintelligible. As well, Defendants failed to include a copy of the back of the
RISC.

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       Plaintiffs’ claims against Defendants in this action are brought under two
separate remedial statutes – (1) Cal. Civ. Code § 1793 et. seq., the California Song-
Beverly Consumer Warranty Act; and (2) 15 U.S.C. § 2301 et. seq., the Magnusson-
Moss Warranty Act. As to Plaintiffs’ Magnusson-Moss federal statutory claims, those
arise out of a federal statute, both the Southern District of California and the Northern
District of Indiana are equally suited to apply and analyze Plaintiffs’ federal claims.
The Song-Beverly Consumer Warranty Act claims, however, arise out of California
statutory provisions and case law. The two causes of action are far from identical and
have both different standards and different remedies available to Plaintiffs. Virtually
all civil actions filed in this District that have Magnusson-Moss Warranty Act claims
also have Song-Beverly Consumer Warranty Act claims. As such, this Court is much
more familiar with Plaintiffs’ Song-Beverly Consumer Warranty Act claims than an
Indiana court would be, and therefore this factor weighs in favor of denying the motion
to transfer.
       As discussed above, California's pro-consumer public policy with respect to the
sale of motor vehicles weighs heavily against transfer. Requiring individual California
retail consumers to litigate their Song–Beverly Consumer Warranty Act claims in an
out-of-state forum would impede their ability to vindicate their statutory rights. Indeed,
California state courts refuse to enforce forum selection clauses if doing so “would
substantially diminish the rights of California residents in a way that violates [the]
state's public policy.” Am. Online, Inc. v. Superior Court (2001) Cal.App.4th 1, 12
(2001). In America Online, the state appellate court refused to enforce a forum
selection clause, in part because of the pro-consumer policies underlying California's
Consumer Legal Remedies Act (CLRA), Cal. Civ. Code §§ 1750, et seq. In particular,
the court noted that the CLRA contained an anti-waiver provision, which signaled the
law's remedial purpose and importance in protecting consumers. 90 Cal.App.4th at 14.
Similarly, the Song–Beverly Consumer Warranty Act contains an anti-waiver


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provision and has been declared to be a remedial scheme intended to protect California
consumers. Cordua, 2011 WL 62493, at *2.
      California Civil Code §1790.1 provides “Any waiver by the buyer of consumer
goods of the provisions of this chapter, except as expressly provided in this chapter,
shall be deemed contrary to public policy.” Transferring the case to Indiana and
enforcing the forum selection clause would result in the waiver of certain provisions
and remedies of the Song-Beverly Consumer Warranty Act. As discussed above,
Defendants’ purported “stipulation” regarding these California consumer claims is
ineffective because no such stipulation has been provided and it is unknown what terms
and conditions will be required of Plaintiffs in order to secure said stipulation.
             3.     The Court should respect Plaintiffs’ choice of a California
                    forum.
      The third factor—“the plaintiff’s choice of forum”—also weighs in favor of
keeping this dispute in California. Jones, 211 F.3d at 498-99. Plaintiffs elected to file
their case in the District Court for the Southern District of California. Plaintiffs are
California individual residents. Defendant Thor is a Delaware corporation registered
to do business in the state of California (Decl. of JCM ¶3, and EXHIBIT B). Defendant
Mike Thompson RV is a California corporation with no apparent nexus to Indiana
(Decl. of JCM ¶4, and EXHIBIT C). Defendant RDS is a California corporation with
no connection to Indiana (Decl. of JCM ¶5, and EXHIBIT D).
      Plaintiffs chose this forum due to its geographic proximity to the Vehicle, the
facts at issue in this case and to utilize the provisions of the Song-Beverly Consumer
Warranty Law to both recover all of their expenses and to recover accumulated
attorney’s fees and costs.
      Defendants do not dispute it would be more convenient for Plaintiffs to litigate
this case in their home state. Although the relative financial ability of the parties is not
entitled to great weight, it should be taken into account. Brackett v. Hilton Hotels


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Corp., 619 F. Supp. 2d 820, 820 (N.D. Cal. 2008). “In venue contests, . . . it is the
duty of the district judge to balance inconveniences and to determine upon which
litigant the greater hardship would rest, if he granted change of venue, and that
determination was subject to the rule that unless the balance is strongly in favor of the
defendant the plaintiff's choice of forum should rarely be disturbed. Thus, on a motion
to transfer the defendant has the burden of making out a strong case in favor of a
transfer.” Benrus Watch Co. v. Bulova Watch Co., 126 F. Supp. 470, 471–472 (D.R.I.
1954).
      As Defendants’ sole argument for transfer is the forum selection clause
contained in the Thor Motor Coach Warranty Registration Card, this factor weighs
against transfer.
             4.     Plaintiffs and Defendants have extensive contacts with
                    California.
      The fourth factor—“the respective parties’ contacts with the forum”—also
weighs in favor of a California venue. As discussed above, all Defendants are either
California corporations or registered to do business in the state of California. Plaintiffs
are individuals residing with their families in California. Defendant Thor distributes
and sells Thor Motor coaches throughout the state of California and has done so for
years. In this case, the Vehicle was sold under the terms of a California contract to be
governed by California law. It is believed that this form agreement is utilized on sales
of all Thor Motor Coaches in the State of California.
      Defendant Mike Thompson RV operates exclusively in the state of California.
      Defendant RDS operates exclusively in the state of California.
      All witnesses with respect to the repair attempts and operation of the Vehicle
subsequent to purchase by Plaintiffs are located in California. All of Plaintiffs’ vehicle
inspectors are located in California.



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      Plaintiffs have no connection with Indiana. Defendant Thor may have its
factory there, but it is also a Delaware corporation. This factor weighs heavily in favor
of denying Defendants’ motion.
             5.     Plaintiffs’ claims arise from events in California.
      The fifth factor—“the contacts relating to Plaintiff’s cause of action in the
chosen forum”—also weighs against transfer to Indiana. Jones, 211 F.3d at 498-99.
As above, the majority of the material witnesses are located in California. All of the
repair personnel for both Mike Thompson RV and Ford Motor Corporation live and
work in California. The inoperable Vehicle is in California. At present, Plaintiffs
cannot operate the Vehicle and the costs of transporting it to Indiana are prohibitive.
“The convenience of witnesses is often the most important factor in deciding whether
to transfer an action pursuant to § 1404(a).” Getz v. Boeing Co., 547 F. Supp. 2d 1080,
1083 (N.D. Cal. 2008). Defendants’ motion does not speak to convenience of
witnesses at all. As above, the sole argument for transfer to Indiana is the forum
selection clause. This factor thus weighs heavily in favor of denying the motion to
transfer.
             6.     Litigating in Indiana would be significantly more costly for
                    Plaintiffs than litigating in California.
      The sixth factor—“the differences in the costs of litigation in the two forums”—
also weighs against transferring this dispute to Indiana For Plaintiffs, this is obvious:
                    a. Transporting the Vehicle to Indiana is cost prohibitive;
                    b. Traveling back and forth to Indiana is cost prohibitive;
                    c. Transporting repair facility witnesses back and forth to
                       Indiana is cost prohibitive.
                    d. No attorney as yet in Indiana has indicated a willingness
                       to take the case on a complete contingency fee basis (See
                       Decl. of JCM Page 2 ¶2 and Exhibit A to that


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                        Declaration.)
       While the Motion focuses on the forum selection clause, Defendants fail to
carry their burden in showing that this factor weighs in favor of transfer. Accordingly,
Defendants do not dispute that the cost of litigating this case in Indiana would be
prohibitive for Plaintiffs. To try to resolve this case efficiently, Plaintiffs have made
a settlement offer to Defendants that comports with both the Magnussen Moss
Consumer Warranty Act and the Song-Beverly Consumer Warranty Act. If the case
be transferred to Indiana, Plaintiffs will incur additional costs to fund the litigation,
but they will lose the protection of the California Song-Beverly Consumer Warranty
Act, which provides for the recovery of their attorneys’ fees. Transfer to Indiana
would require Plaintiffs to pay an Indiana attorney out of pocket to handle the case.
This factor thus weighs heavily in favor of denying the Motion to Transfer Venue.
              7.     Indiana courts cannot compel attendance of unwilling
                     non-party witnesses.
       The seventh factor—“the availability of compulsory process to compel
attendance of unwilling non-party witnesses”—also weighs against transferring this
case to Indiana.      Jones, 211 F.3d at 498-99. The issue here is simple and
straightforward. The Vehicle was sold in California. All repair attempts occurred in
California. Current and former employees of Mike Thompson RV and South Bay Ford,
where repair attempts occurred, all reside in California. “In assessing convenience of
witnesses as factor in resolving motion to transfer venue, courts consider effect of
transfer on availability of certain witnesses and their live testimony at trial.” DeFazio
v. Hollister Employee Share Ownership Trust, 406 F. Supp. 2d 1085, 1090 (E.D. Cal.
2005). Trial in cases like this can often last weeks. If this case is transferred to Indiana,
many of the percipient witnesses will be essentially required to relocate for a period
of time wherein they will miss work and be separated from their respective families.
              8.     The evidence is all in California.


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         Finally, the final factor—“the ease of access to sources of proof”—also weighs
heavily in favor of California venue.           The issue here is again simple and
straightforward. As above, the Vehicle itself sits inoperable and arguably unsafe to
operate. The Vehicle itself is the chief source of evidence.
         As with all of the other factors, Defendants do not make any attempt to address
this factor. Thus Defendants have failed to carry their burden in showing that, on
balance, the section 1404(a) factors support transfer to Indiana. Savage, 611 F.2d at
279. The Court should deny the motion to transfer venue.
   II.      The Court should deny Defendants’ request to sever Plaintiffs’ claims
            against RDS.
         First, Defendants’ motion to sever should be denied as moot because the Court
should also deny Defendants’ motion to transfer.               Plaintiffs’ claims against
Defendants should proceed together in this California court because this is the
appropriate venue for this dispute.
         Second, if the Court determines that transfer is appropriate—which Plaintiffs
dispute—the Court still should not sever RDS’s claims from Plaintiffs’ claims against
Thor and Mike Thompson RV.             Plaintiffs’ claims against defendant RDS are
intertwined with its claims against defendants Thor and Mike Thompson RV.
Plaintiffs allege that they allowed defendants Thor and Mike Thompson RV “to
conduct an inspection of the” Vehicle and that RDS was hired to tow the Vehicle to
an inspection site. Compl. at ¶¶ 73-74. While the Vehicle was in RDS’s custody,
RDS “crashed the Subject Vehicle into an overpass.” Id. at ¶ 75. Plaintiffs contend
that the “Vehicle has been damaged beyond repair and the structural integrity of” the
Vehicle “is in doubt.” Id. at ¶ 77.
         Plaintiffs’ allegations against RDS are connected to and related to their claims
against Defendants, and resolving this lawsuit and determining each defendants’
liability must include RDS because Plaintiffs cannot be made whole without their


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ability to seek damages from RDS, as defendants may be jointly liable for the damages
to the Vehicle.     Moreover, fact discovery regarding Plaintiffs’ claims against
Defendants and RDS may overlap to the extent Plaintiffs have alleged that the
inspection for which RDS was hired was requested by Defendants Thor and Mike
Thompson RV. Thus, there is at least one “common question of fact” that links all
defendants in this case, and joinder of RDS to these proceedings was appropriate. All
defendants were involved in the inspection during which RDS damaged the Vehicle,
and all defendants will be liable to Plaintiffs for damages to the Vehicle.
      Under Federal Rule of Civil Procedure 20(b), Plaintiffs can join defendants if
“any right to relief is asserted against them jointly, severally, or in the alternative with
respect to or arising out of the same transaction, occurrence, or series of transactions
or occurrences; and any question of law or fact common to all defendants will arise in
the action.” Here, Plaintiffs allege that defendants may be responsible for the damages
to the Vehicle and that defendants were all involved in the “same transaction,” the
inspection during which RDS crashed the Vehicle into the overpass. The defendants
share a common question of fact in determining the damages to the Vehicle and
apportioning liability amongst the defendants. For these reasons, the Court should
deny the motion to sever Plaintiffs’ claims against RDS.


                                    CONCLUSION
      In Atlantic Marine, the Supreme Court clarified and refined the factors a Court
should consider when asked to grant a motion to transfer pursuant to 28 U.S.C. § 1404(a)
based on a forum selection clause. When it did so, it did not abrogate its own prior
decisions but instead carved out which factors a Court should focus on. As the only
ones that remain are those that analyze a public interest, the forum state’s strong public
policy interests are the most compelling of the factors for the Court to consider. Both
the legislature and California courts have ratified California’s deep and important


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public policy interests in preserving the Song-Beverly Consumer Warranty Act and the
California Constitution’s unwaivable right to a jury trial. As the forum selection clause
at issue in this case expressly voids both of those options, it is impossibly conflicted
with California’s public interest. Defendants’ creative “promise to stipulate” to avoid
the irreconcilable conflict between the forum selection clause that Defendants seek to
enforce with California’s “fundamental,” “sacred,” and “inviolate” public policy
concerns fails to resolve that conflict. Accordingly, the Court should conclude that the
forum selection clause is unenforceable. The motion to transfer should be denied
because absent an enforceable forum selection clause, Defendants have wholly failed
to even dispute that the section 1404a) factors weigh against transfer to Indiana.
      Finally, Defendants’ motion to sever Plaintiffs’ claims against RDS should be
denied as moot, or, in the alternative, denied because RDS is properly joined as a
defendant in this action.




Dated: October 3, 2022                 MCMILLAN LAW GROUP, APC

                                       By:    /s/ Julian McMillan, Esq.
                                              Julian McMillan, Esq.
                                              Attorney for Plaintiffs




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